Case 2:05-cV-02258-SHI\/|-tmp Document 12 Filed 06/30/05 Page 1 of 3 Page|D 1

 

`HLED gy-
IN THE UNITED sTATEs DrsTRICT CoURT FoR THE )?éf` e.q
wEsTERN DISTRICT oF TENNESSEE A'r MEMPHIs 05 JU~ 30 PH 2 §
v x h
”U\MS
AUBRY oDoM, Q§/K Ug_ ggn%l!) -
Piaimiff,
v. No. 05-2258-Ma/P
;rURY DEMANDED

TONY COOPER and CORRECTIONAL
MEDICAL SERVICES, INC., et al.,

Defendants.

 

ORDER GRANTING MOTION OF DEFENDANT, TONY
COOPER, FOR ENLARGEMEN'I` OF TIME-'TO FILE RESPONSIVE
PLEADINGS AND/OR RULE 12 MOTION

 

WHEREFORE, on or about June 24, 2005, the defendant, Tony Cooper
(“Defendant” , by and through counsel of record, moved this court to enlarge the time
within which he may respond to the Plaintiff’ s complaint by filing responsive pleadings
and/or a Rule 12 motion. Based upon the motion and memorandum filed in support
thereof by the Defendant, it is the Court’s opinion that the Defendant’s motion is well
taken and should be granted.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the
Defendant’s motion for enlargement of time to file responsive pleadings and/or rule 12

motion is granted and that the Defendant shall have 60 days from the date of entry of this

order within which to file respective responsive pleadings and/or a rule 12 mo.
,L/\ ‘-" '-

Juci'ge \

Date'. ;SU\‘-L %d¢ wen/

ly

 
  

Tm_<;. document entered on the docket shea
with Flule 58 and/or TQ(a) FRCP on

_Case 2:05-cV-O2258-SHI\/|-tmp Document 12 Filed 06/30/05 Page 2 of 3 Page|D 2

CERTIFICATE OF SERVICE

l hereby certify that I have hand delivered a copy of the foregoing to Evan
Nahmias, 119 S. Main Street, Ste. 400, Memphis, Tennessee and Debra Fessenden,

Assistant Shelby County Attorney, 160 N. Main, St., Su e:;§s, TN 38103 on

this 24th day ofJun¢~,, 2005.
st he G. smi@ "‘-`-~._

  
 
 

     

'sATTEsDIsTCRIT OURT - WESTERNDTRTISIC OF TENNESSEE

 

UNIED

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02258 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

Evan Nahmias
MCDONALD KUHN
119 South Main St.
Ste. 400

Memphis7 TN 38103

Jerry O. Potter

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

Memphis7 TN 38103

Lisa Ann Overall
MCDONALD KUHN
119 South Main St.
Ste. 400

Memphis7 TN 38103

Stephen G. Smith

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

